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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

CASE NO.: 3:12~cv~03895-TEH

NOTICE OF SETTLEMENT
SARAH MONTGOMERY,

Plaintiff,

V.

WELLS FARGO BANK, NATIONAL
ASSOCIATION an FDIC insured
corporation and DOES 1 through 100
inclusive,

Defendants.

 

 

TO THE COURT, CLERK ()F C()URT, AND ALL PARTIES:

PLEASE 'I`AKE NOTICE, Plaintiff Sarah Montgomery and Defendant Wells'Fargo
Bank, N.A. (collectively, the "‘Parties”), by and through their respective counsel of record,
have reached a settlement in principle of the above captioned case and are in the process of

documenting Said Settlement.

NOTICE OF SETTLEMENT- 1

 

 

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SAGARIA LAW, P.C.

Dated: Novernber 16, 2012 /s/ Elliot Gale
Scott Sagaria

Elliot Gale
Attorneys for Plaintiff

NOTICE OF SETI`LEMENT- 2

 

 

